                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division


UNITED STATES OF AMERICA

                                                       Grand Jury 19-3
                                                       Case No. l:19-dm-50
JOHN DOE 2010R03793




                                              ORDER


       By Order dated August 20,2019[Doc. 27], the Court granted Jeremy Hammond full use

and derivative use immunity, pursuant to 18 U.S.C. § 6002, and ordered Mr. Hammond to testify

and provide other information in the above-captioned grand jury proceeding("Grand Jury").

       By Order dated October 10,2019[Doc. 14], the Court found that Mr. Hammond would

persist in his refusal to testify before the Grand Jury, that he willfully violated the Court's prior

order to testify before the Grand Jury, and that he did not have just cause not to testify before the

Grand Jury, id. at 1. Accordingly, the Court held Mr. Hammond in civil contempt, determined

that a coercive sanction against Mr. Hammond was appropriate, and remanded Mr. Hammond to

the custody ofthe Attorney General until such time as he purges himself of contempt or for the

life of the Grand Jury, but in no event longer than 18 months. Id.

        On March 11,2020, Mr. Hammond,through counsel, filed a Motion to Vacate Sanctions

and Declaration by Jeremy Hammond [Doc. 40](the "Motion"),in which Mr. Hammond

reaffirmed his "ongoing refusal to comply with this Court's order to testify in front ofthe grand

jury," id. at 1, and moves this Court to vacate the civil contempt sanction imposed against him,

[Doc.40-1 at 1].
          By Order dated March 12, 2020, after finding that the business of Grand Jury 19-3 had

concluded, the Court dismissed Grand Jury 19-3.

          Upon consideration of the Court's October 10, 2019 Order, the Motion, and the Court's

March 12, 2020 Order discharging Grand Jury 19-3, the Court finds that Mr. Hammond's

appearance before the Grand Jury is no longer needed, in light of which his detention no longer

serves any coercive purpose. Accordingly, it is hereby

          ORDERED that Jeremy Hammond no longer be detained for the purpose of testifying

before the now discharged Grand Jury; and that he be RETURNED to the custody ofthe Bureau

ofPrisons to serve the remainder of his currently pending sentence of incarceration; and it is

further


          ORDERED that Jeremy Hammond's Motion [Doc. 40] be, and the same hereby is,

DENIED as moot; and it is further

          ORDERED that the status conference in this matter, currently scheduled for Friday,

March 13, 2020 at 3:30 p.m. be, and the same hereby is, CANCELLED.

          The Clerk is directed to forward a copy of this Order to all counsel of record, to the

United States Marshals, and to the Bureau ofPrisons.




                                                Anthony J. Trei
                                                United States D        Judge
Alexandria, Virginia
March 12, 2020
